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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Dennis Taylor v.                               Case Number: 17-cv-00441
            Randy Pfister, et al.

An appearance is hereby filed by the undersigned as attorney for:
Plaintiff, Dennis Taylor
Attorney name (type or print): Mark E. Leipold

Firm: Gould & Ratner LLP

Street address: 222 N. LaSalle Street, Suite 800

City/State/Zip: Chicago, IL 60601

Bar ID Number: 6194124                                     Telephone Number: 312.236.3003
(See item 3 in instructions)

Email Address: mleipold@gouldratner.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this &ourt an attorney must either be a member in good standing of this &ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 8.6.&§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on July 24, 2017

Attorney signature:            S/ Mark E. Leipold
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


DENNIS TAYLOR,                                  )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )       No. 17-cv-00441
                                                )
RANDY PFISTER, et al.,                          )       Hon. Thomas M. Durkin
                                                )
               Defendants.                      )


                                 CERTIFICATE OF SERVICE

        I, Mark E. Leipold, a non-attorney, certify that on July 24, 2017, I electronically filed the
foregoing ATTORNEY APPEARANCE FORM with the Clerk of the Court using the Court’s
electronic filing system which will send notification of such filing to the following:


               Randy Pfister
               Karen Rabidean
               Sgt. Deathrow
               Jacqueline Lashbrook
               c/o Prisoner Correspondence 5
               ilnd_PC5@ilnd.uscourts.gov


                                                                  /s/ Mark E. Leipold
                                                                     Mark E. Leipold
